     Case 3:22-cv-00211-SDD-SDJ        Document 316   12/07/23 Page 1 of 5




                 IN THE UNITED STATES DISTRICT COURT
                FOR THE MIDDLE DISTRICT OF LOUISIANA


PRESS ROBINSON, EDGAR CAGE,                     CIVIL ACTION
DOROTHY NAIRNE, EDWIN RENE                      NO. 3:22-cv-00211
SOULE, ALICE WASHINGTON, CLEE
EARNEST LOWE, DAVANTE LEWIS,                    Chief Judge Shelly D. Dick
MARTHA DAVIS, AMBROSE SIMS,                     Magistrate Judge Scott D.
NATIONAL ASSOCIATION FOR THE                    Johnson
ADVANCEMENT OF COLORED PEOPLE
(“NAACP”) LOUISIANA STATE
CONFERENCE, AND POWER
COALITION FOR EQUITY AND
JUSTICE,

                         Plaintiffs,

      v.

KYLE ARDOIN, in his official capacity as
Secretary of State for Louisiana,

                         Defendant.

EDWARD GALMON, SR., CIARA HART,                 Consolidated with
NORRIS HENDERSON, and TRAMELLE
HOWARD,                                         CIVIL ACTION
                                                NO. 3:22-cv-00214
                         Plaintiffs,

      v.

R. KYLE ARDOIN, in his official capacity as
Secretary of State for Louisiana,

                         Defendant.




           MOTION TO WITHDRAW ANDREW J. PLAGUE AND
               KERI HOLLEB HOTALING AS COUNSEL




                                        1
        Case 3:22-cv-00211-SDD-SDJ        Document 316    12/07/23 Page 2 of 5




        Pursuant to Local Civil Rule 83(b)(13), Jessica Ring Amunson of Jenner & Block

LLP hereby moves the Court to enter an Order herein withdrawing Andrew J. Plague

and Keri Holleb Hotaling as counsel of record pro hac vice for Amici Michael Mislove,

Lisa J. Fauci, Robert Lipton, and Nicholas Mattei. Mr. Plague and Ms. Holleb Hotaling

are no longer with Jenner & Block LLP. Amici will continue to be represented by

attorneys Alex S. Trepp, Jessica Ring Amunson, and Sam Hirsch of Jenner & Block LLP

and Judy Y. Barrasso of Barrasso Usdin Kupperman Freeman & Sarver, LLC. This

withdrawal will not delay any proceedings.      Pursuant to Local Rule 83(b)(13), the

undersigned certifies that Mr. Plague and Ms. Holleb Hotaling have consented to their

withdrawal from this proceeding.


        For the reasons stated above, Ms. Amunson respectfully requests that this Court

grant this motion to withdraw Andrew J. Plague and Keri Holleb Hotaling as counsel and

remove Mr. Plague and Ms. Holleb Hotaling from further electronic notifications in this

case.



    Dated: December 11, 2023                   Respectfully submitted,

    BARRASSO USDIN KUPPERMAN                   JENNER & BLOCK LLP
    FREEMAN & SARVER, L.L.C.

                                               /s/ Jessica Ring Amunson
    Judy Y. Barrasso (La. Bar No. 2814)        Jessica Ring Amunson*
    BARRASSO USDIN KUPPERMAN                   Sam Hirsch*
     FREEMAN &SARVER, L.L.C.                   Alex S. Trepp*
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                                           2
  Case 3:22-cv-00211-SDD-SDJ   Document 316     12/07/23 Page 3 of 5




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                                    Counsel for Amici




                                3
     Case 3:22-cv-00211-SDD-SDJ        Document 316   12/07/23 Page 4 of 5




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HOWARD,                                         CIVIL ACTION
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      v.

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                         Defendant.




                                        4
      Case 3:22-cv-00211-SDD-SDJ       Document 316     12/07/23 Page 5 of 5




                             [PROPOSED] ORDER




      Before the Court is counsel for Amici, Jessica Ring Amunson’s Motion to

Withdrawal Attorneys Keri Holleb Hotaling and Andrew J. Plague as Counsel.


      IT IS HEREBY ORDERED that the Amici’s Motion is GRANTED, thereby

withdrawing Andrew J. Plague and Keri Holleb Hotaling as counsel of record for

the Amici herein. The Clerk of Court is DIRECTED to terminate Mr. Plague and

Ms. Holleb Hotaling’s appearances on the docket.

      Baton Rouge, Louisiana, this ______ day of _______________, 2023.




                                      ___________________________________
                                               SHELLY D. DICK
                                               UNITED STATES
                                           CHIEF DISTRICT JUDGE




                                         5
